          Case 1:16-cv-08364-KMW Document 99 Filed 01/30/20 Page 1 of 1


                                                                       USDCSDNY
UNITED STATES DISTRICT COURT                                          •-DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                          ELECTRONICALLY FILED
--------------------------------------------------------X              DOC #: _ _ _- - r - , - -
ANNE DE LACOUR, ANDREA WRIGHT, and
LOREE MORAN, individually and on behalf of
                                                                       DATE FILED: t/3o j:::J.O
                                                                                         •
all others similarly situated,

                                   Plaintiffs,                      16-CV-8364 (KMW)
                 V.
                                                                          ORDER
COLGATE-PALMOLIVE CO., and TOM ' S OF
MAINE, INC.,

                                   Defendants.
--------------------------------------------------------X
KIMBA M. WOOD, United States District Judge:
        Pursuant to Rule 3(A) of the Court' s Individual Rules and Practices, Plaintiffs request a

pre-motion conference in advance of filing a renewed motion for class certification. The Court

declines to hold a pre-motion conference.

        The motion for class certification shall be filed by February 21, 2020. The responses to

that motion shall be filed by March 20, 2020. Any reply shall be filed by April 9, 2020.

SO ORDERED.
 Dated: New York, New York
        January ~ ' 2020
                                                                   KIMBA M. WOOD
                                                                United States District Judge




                                                            1
